                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

KENNETH L. WRIGHT,
ADC #088454D                                                                             PLAINTIFF

v.                                     4:20-cv-00215-JM-JJV

CARRIE WILLIAMS,
Director, Arkansas Community Correction; and
RENU LIFE CENTER                                                                     DEFENDANTS

                                              ORDER

       The Court has reviewed the Recommendation submitted by United States Magistrate Judge

Joe J. Volpe and Plaintiff’s objections. After conducting a de novo review, this Court adopts the

Recommendation in its entirety as its findings in all respects. Plaintiff offers to amend his

Complaint to make his claims clearer. However, an amendment would be futile because Plaintiff

does not allege he was denied a fundamental right or discriminated against based on a suspect

classification. Designation as a level 3 or 4 sex offender is not a suspect classification for purposes

of equal protection under the Fourteenth Amendment.

       IT IS THEREFORE ORDERED that:

       1.      The Complaint (Doc. No. 2) is DISMISSED WITHOUT PREJUDICE for failure

to state a claim upon which relief may be granted.

       2.      Dismissal of this action is a “strike” for purposes of 28 U.S.C. § 1915(g).

       3.      It is certified, pursuant to 28 U.S.C. ' 1915(a)(3), that an in forma pauperis appeal

from this Order and the accompanying Judgment would not be taken in good faith.

       Dated this 26th day of March 2020.


                                                             ________________________________
                                                             UNITED STATES DISTRICT JUDGE
